     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 1 of 15




1    Stephen E. Taylor (SBN 058452)
     Jonathan A. Patchen (SBN 237346)
2    TAYLOR & COMPANY LAW OFFICES, LLP
     One Ferry Building, Suite 355
3    San Francisco, California 94111
     Telephone: (415) 788-8200
4    Facsimile: (415) 788-8208
     Email: staylor@tcolaw.com
5    Email: jpatchen@tcolaw.com
6    Kenneth A. Gallo (pro hac vice)
     Joseph J. Simons (pro hac vice)
7    Craig A. Benson (pro hac vice)
     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
8    2001 K Street, NW
     Washington, DC 20006-1047
9    Telephone: (202) 223-7300
     Facsimile: (202) 223-7420
10   Email: kgallo@paulweiss.com
     Email: jsimons@paulweiss.com
11   Email: cbenson@paulweiss.com
12   Attorneys for Sharp Electronics Corporation and
     Sharp Electronics Manufacturing Company of America, Inc.
13

14                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
15                                 SAN FRANCISCO DIVISION
16   In Re CATHODE RAY TUBE (CRT)                         Case No. 07-cv-5944-SC
     ANTITRUST LITIGATION                                 MDL No. 1917
17
                                                          PLAINTIFFS SHARP
18   This Document Relates to:                            ELECTRONICS CORPORATION
                                                          AND SHARP ELECTRONICS
19                                                        MANUFACTURING COMPANY OF
     Sharp Electronics Corporation, Sharp Electronics     AMERICA, INC.’S OBJECTIONS
20   Manufacturing Company of America, Inc. v. Hitachi,   TO ORDER OF SPECIAL MASTER
     Ltd. et al., Case No. 13-cv-1173 SC.                 LEGGE STAYING DISCOVERY
21
                                                          DATE: None Set
22                                                        TIME: None Set
                                                          COURTROOM: One, 17th Floor
23                                                        JUDGE: The Honorable Samuel Conti
24

25

26

27

28

     SHARP’S OBJECTIONS TO ORDER OF                                                   Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                              Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 2 of 15




1                                                     TABLE OF CONTENTS
2                                                                                                                                      Page
3    TABLE OF AUTHORITIES .......................................................................................................... ii
4    STATEMENT OF FACTS ..............................................................................................................1
5    OBJECTIONS TO SPECIAL MASTER’S ORDER.......................................................................3
6    I.        THE SPECIAL MASTER’S ORDER MISAPPLIED THE LEGAL
               STANDARDS FOR STAYING DISCOVERY ..................................................................4
7
     II.       THE STAY OF DISCOVERY PREJUDICES SHARP AND IS NOT
8              OUTWEIGHED BY EFFICIENCY ....................................................................................9
9    CONCLUSION..............................................................................................................................11
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                      -i-
     SHARP’S OBJECTIONS TO ORDER OF                                                                                   Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                                              Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 3 of 15




1                                                  TABLE OF AUTHORITIES
2                                                                                                                                  Page(s)
3    CASES
4    American Pipe & Constr. Co. v. Utah,
       414 U.S. 538 (1974)...................................................................................................................6
5
     F.T.C. v. AMG Servs., Inc.,
6       No. 12-cv-0536, 2012 WL 3730561 (D. Nev. Aug. 28, 2012)..................................................4
7    Baker v. Ark. Blue Cross,
        08-cv-3974, 2009 WL 904150 (N.D. Cal. 2009).......................................................................7
8
     In re Cathode Ray Tubes Antitrust Litig.,
9        738 F. Supp. 2d 1011 (N.D. Cal. 2010) .................................................................................5, 8
10   U.S. v. Cheng Yuan Lin,
        No. 3:09-cr-00131 (N.D. Cal. Feb. 10, 2009)............................................................................7
11
     U.S. v. Chung Cheng Yeh,
12      No. 3:10-cv-00231 (N.D. Cal. Mar. 30, 2010) ..........................................................................7
13   United States v. Clifford Matley Family Trust,
        354 F.3d 1154 (9th Cir. 2004) ...............................................................................................3, 4
14
     In re Flash Memory Antitrust Litig.,
15       No. 07-cv-0086, 2008 WL 62278 (N.D. Cal. Jan. 4, 2008) ......................................................8
16   In re Graphics Processing Units Antitrust Litig.,
         2007 WL 2127577 (N.D. Cal. July 24, 2007)............................................................................7
17
     Gray v. First Winthrop Corp.,
18      133 F.R.D. 39 (N.D. Cal. 1990).............................................................................................8, 9
19   Huene v. U.S. Dep’t of Treasury, I.R.S.,
        No. 11-cv-2110, 2013 WL 417747 (E.D. Cal. Jan. 31, 2013) ...........................................4, 7, 9
20
     McCarn v. HSBC USA, Inc.,
21     No. 12-cv-375, 2012 WL 5499433 (E.D. Cal. Nov. 13, 2012)..................................................5
22   Mlejnecky v. Olympus Img. Am., Inc.,
        No. 10-cv-2630, 2011 WL 489743 (E.D. Cal. Feb. 7, 2011) ................................................4, 8
23
     Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Resource Development Svcs, Inc.,
24      No. 10-cv-1324, 2010 WL 3746290 (N.D. Cal. Sept. 18, 2010)...............................................5
25   OMG Fidelity, Inc. v. Sirius Techs., Inc.,
       239 F.R.D. 300 (N.D.N.Y. 2006).............................................................................................10
26
     Pacific Lumber Co. v. Nat’l Union Fire Ins. Co. of Pittsburgh, PA,
27      220 F.R.D. 349 (N.D. Cal. 2003)...............................................................................................6
28

                                                                     - ii -
     SHARP’S OBJECTIONS TO ORDER OF                                                                                   Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                                              Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 4 of 15



     Qwest Comm’ns Corp. v. Herakles, LLC,
1      No. 07-cv-393, 2007 WL 2288299 (E.D. Cal. Aug. 8, 2007)....................................................4
2    Ray v. Spirit Airlines, Inc.,
        No. 12-cv-61528, 2012 WL 5471793 (S.D. Fla. Nov. 9, 2012) ..............................................10
3
     Rheumatology Diagnostics Lab., Inc. v. Aetna, Inc.,
4       No. 12-cv-5847, 2012 U.S. Dist. LEXIS 61848 (N.D. Cal. Apr. 29, 2013)..............................9
5    U.S. v. Samsung SDI Co., Ltd.,
        No. 3:11-cr-00162-WHA, Dkt. 40-1..........................................................................................7
6
     U.S. v. Seung-Kyu Lee,
7       No. 3:10-cr-00817 (N.D. Cal. Nov. 9, 2010).............................................................................7
8    Seven Springs Ltd. P’ship v. Fox Capital Mgmt. Corp.,
        No. 07-cv-0142, 2007 WL 1146607 (E.D. Cal. Apr. 18, 2007) ................................................8
9
     Shift4 Corp. v. Martin,
10       No. 11-cv-1315, 2012 WL 3206027 (D. Nev. Aug. 3, 2012)................................................4, 6
11   Simpson v. Specialty Retail Concepts, Inc.,
        121 F.R.D. 261 (M.D.N.C. 1988) ..............................................................................................9
12
     In re Valence Techs. Sec. Litig.,
13       No. 94-cv-1542, 1994 WL 758688 (N.D. Cal. Nov. 18, 1994) (Conti, J.) ............................4, 9
14   U.S. v. Wen Jun Cheng,
        No. 3:09-cr-00836 (N.D. Cal. Aug. 18, 2009)...........................................................................7
15
     Young v. U.S.,
16      No. 11-cv-6043, 2013 WL 750646 (W.D. Wash. Feb. 27, 2013) .............................................6
17

18   OTHER AUTHORITIES
19   European Commission, “Antitrust: Commission fines producers of TV and computer
        monitor tubes €1.47 billion for two decade-long cartels (Dec. 5, 2012), available at
20      http://europa.eu/rapid/press-release_IP-12-1317_en.htm ......................................................1, 7
21   Fed. R. Civ. P. 53.........................................................................................................................1, 3
22

23

24

25

26

27

28

                                                                        - iii -
     SHARP’S OBJECTIONS TO ORDER OF                                                                                       Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                                                  Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 5 of 15




1                   Pursuant to Rule 53 of the Federal Rules of Civil Procedure and the Court’s Order

2    Appointing Special Master Legge, see Case No. 07-cv-5944, Dkt. No. 302, Plaintiffs Sharp

3    Electronics Corporation and Sharp Electronics Manufacturing Company of America, Inc.

4    (collectively, “Sharp”) hereby object to the Order of the Special Master staying discovery as to

5    defendant Thomson Consumer Electronics, Inc.

6                   Special Master Legge’s Order prejudices Sharp by preventing any discovery from

7    Thomson Consumer for an untold number of months, virtually guaranteeing that Sharp will be

8    unable to proceed with other plaintiffs on a coordinated schedule in this multi-district litigation.

9    The Special Master’s Order does not address this potential for substantial prejudice to Sharp or

10   the enormous inefficiencies created by delaying of discovery. Moreover, the Special Master

11   erred by misapplying the legal standard regarding the relevance of discovery to Thomson

12   Consumer’s pending motion to dismiss, the likelihood that Sharp’s complaint will survive

13   Thomson Consumer’s challenges, and Sharp’s ability to amend its complaint to cure any defects

14   following any dismissal. The Special Master’s order should be reversed.

15                                      ISSUES TO BE DECIDED
16                  Whether discovery against Thomson Consumer should be stayed pending

17   resolution of Thomson Consumer’s motion to dismiss the Sharp complaint, and whether the

18   Special Master erred by issuing the Order Staying Discovery.

19                                       STATEMENT OF FACTS
20                  Sharp filed, on March 15, 2013, a Complaint against 39 defendants, including

21   France-based Thomson S.A. and its United States subsidiary, Thomson Consumer. Sharp

22   alleged that the defendants participated in a conspiracy to fix the prices of cathode ray tubes that

23   Sharp purchased in the United States. Compl. ¶¶ 1-2. Sharp filed its opt-out complaint before

24   the Court certified any direct or indirect purchaser class and shortly after the European

25   Commission publicly announced that it was fining Thomson S.A. for participating in a global

26   conspiracy to fix the price of CRTs, which it dubbed “among the most organised cartels that the

27   Commission has investigated.”

28

     SHARP’S OBJECTIONS TO ORDER OF                                                          Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                     Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 6 of 15




1                   Sharp was the first plaintiff in the CRT multidistrict litigation to name Thomson

2    Consumer as a defendant. And although certain plaintiffs named Thomson S.A. in early

3    complaints beginning in January 2008, the class plaintiffs did not include Thomson S.A. as a

4    plaintiff when it filed its consolidated complaint. As a result, to date no Thomson entity has

5    meaningfully participated in the CRT litigation or produced any documents. Meanwhile,

6    discovery in the MDL case has been advancing for several years, with other defendants

7    producing documents, answering interrogatories, and providing witnesses for depositions. See,

8    e.g., Case No. 07-5944, Dkt. No. 509 (June 8, 2009).

9                   Sharp and Thomson Consumer agreed on briefing deadlines for Thomson

10   Consumer’s motion to dismiss. See Case No. 13-cv-1173, Dkt. No. 26 (May 1, 2013). For other

11   defendants—which had long been participating in discovery and were continuing to do so—

12   Sharp agreed to postpone the deadline for any motions to dismiss until this Court ruled on

13   motions to dismiss these same defendants had filed as to other direct action plaintiffs. See Dkt.

14   No. 25 (Apr. 24, 2013). But because it knew it needed discovery from Thomson Consumer—

15   who had not previously been in the case—Sharp sought a prompt resolution of Thomson

16   Consumer’s motion to dismiss, with an agreed-upon date for a hearing on July 23, 2013.

17                  Thomson Consumer moved to dismiss Sharp’s complaint, arguing that Sharp’s

18   claims were time-barred, that the complaint failed to state a claim, and that all claims should be

19   dismissed for lack of subject matter jurisdiction. See Dkt. No. 30. As Sharp argued in its

20   opposition brief, see Dkt. No. 34, each of those arguments must fail on the basis of binding

21   precedent and this Court’s previous decisions rejecting identical arguments.

22                  Upon completion of briefing on the motion to dismiss, Sharp sought to begin

23   discovery against Thomson Consumer in order to move forward with prosecuting its case.

24   Thomson Consumer argued that, until the Court ruled on its motion to dismiss, discovery was

25   premature. Meanwhile, a group of other defendants petitioned the Special Master to postpone

26   the July 23, 2013 motion to dismiss hearing that Thomson Consumer and Sharp had agreed

27   upon. Those other defendants argued that the Court should not hear Thomson Consumer’s

28   motion to dismiss Sharp’s complaint until they also filed their motions so that they could be

                                                    -2-
     SHARP’S OBJECTIONS TO ORDER OF                                                         Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                    Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 7 of 15




1    heard at the same time—even though other defendants’ motions to dismiss would be many

2    months away. Sharp made clear that it opposed postponing the hearing if doing so would delay

3    its ability to get discovery against Thomson Consumer promptly. Thomson Consumer, as a new

4    defendant, was differently-situated from the other defendants that have been participating in

5    MDL discovery. But over Sharp’s objection, on June 28, 2013, the Special Master vacated the

6    July 23, 2013 hearing date, ordering that the hearing be rescheduled only after a ruling by the

7    Court on the motions to dismiss Direct Action Plaintiffs’ complaints and after other defendants

8    filed their motions to dismiss Sharp’s complaint. This will not occur for many months.

9                   After unsuccessfully attempting to resolve with Thomson Consumer this dispute

10   about when discovery should begin, Sharp petitioned the Special Master to order that discovery

11   proceed even while Thomson Consumer’s motion to dismiss pended. See Benson Decl., Ex. 2;

12   see also Exs. 3 and 4. Following briefing, but without any argument, the Special Master issued

13   an order staying discovery at least until this Court ruled on the outstanding motions to dismiss

14   the Direct Action complaints. See Benson Decl., Ex. 1. The Special Master did not articulate a

15   legal standard, noting only that “numerous courts have stayed discovery pending the resolution

16   of potentially dispositive motions.” Id. at 2. He further reasoned that, because the motion is a

17   “dispositive motion” asserting a statute-of-limitations argument, and because “the motion can be

18   decided without discovery,” a stay would avoid “wasted” discovery. Id. The only thing the

19   Special Master said about whether Sharp would be prejudiced by such a stay is that no discovery

20   would be lost in the intervening months. Id. at 3.

21                        OBJECTIONS TO SPECIAL MASTER’S ORDER
22                  Sharp objects to the Special Master’s Order on two grounds. First, the Special

23   Master misapplied the relevant legal standards in staying discovery, an error that warrants

24   reversal after de novo review. Fed. R. Civ. P. 53(f); Order Appointing Special Master ¶ 18, No.

25   07-cv-5944, Dkt. No. 302 (conclusions of law reviewed de novo). See also United States v.

26   Clifford Matley Family Trust, 354 F.3d 1154, 1156, 1163 (9th Cir. 2004) (reversing special

27   master’s ruling, and district court’s adoption of that ruling, where special master applied “an

28   incorrect legal standard”). The Special Master also abused his discretion by denying discovery

                                                    -3-
     SHARP’S OBJECTIONS TO ORDER OF                                                         Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                    Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 8 of 15




1    that is directly relevant to the arguments made in Thomson Consumer’s motion to dismiss.

2    Shift4 Corp. v. Martin, No. 11-cv-1315, 2012 WL 3206027, at *2 (D. Nev. Aug. 3, 2012) (citing

3    Alaska Cargo Transp., Inc. v. Alaska R.R. Corp., 5 F.3d 378, 383 (9th Cir. 1993). Second, the

4    Special Master ignored efficiency concerns and the substantial prejudice to Sharp in granting a

5    months-long stay of discovery. In reviewing the Special Master’s order de novo, the Court

6    should weigh all of the relevant considerations of efficiency and prejudice and reverse the

7    Special Master’s order.

8       I. THE SPECIAL MASTER’S ORDER MISAPPLIED THE LEGAL STANDARDS
             FOR STAYING DISCOVERY
9
10                  As Sharp argued before the Special Master below, a stay of discovery is

11   inappropriate here. Courts disfavor stays of discovery, and the Federal Rules of Civil Procedure

12   permit no such “automatic” stays merely based on the filing of a dispositive motion. Mlejnecky

13   No. 10-cv-2630, 2011 WL 489743, at *6 (E.D. Cal. Feb. 7, 2011); In re Valence Techs. Sec.

14   Litig., No. 94-cv-1542, 1994 WL 758688, at *2 (N.D. Cal. Nov. 18, 1994) (Conti, J.) (“[C]ourts

15   have not looked favorably upon granting a blanket stay of discovery pending resolution of a

16   challenge to the legal sufficiency of a plaintiff’s complaint.”). To evaluate a request for a

17   discovery stay during the pendency of a motion to dismiss, courts within the Ninth Circuit have

18   considered three factors: whether (1) the motion to dismiss is dispositive; (2) discovery is

19   necessary or relevant to resolve the motion; and (3) the party requesting the stay has “convinced”

20   the court that “the plaintiff will be unable to state [a] claim for relief.” See Huene v. U.S. Dep’t

21   of Treasury, I.R.S., No. 11-cv-2110, 2013 WL 417747, at *8 (E.D. Cal. Jan. 31, 2013); F.T.C. v.

22   AMG Servs., Inc., No. 12-cv-0536, 2012 WL 3730561, at *4 (D. Nev. Aug. 28, 2012); Qwest

23   Comm’ns Corp. v. Herakles, LLC, No. 07-cv-393, 2007 WL 2288299, at *2-*3 (E.D. Cal. Aug.

24   8, 2007). The Special Master misapplied each of these three elements. Clifford Matley Family

25   Trust, 354 F.3d at 1156, 1163.

26                  Is this motion dispositive? In determining the dispositive nature of the motion,

27   courts consider “the likelihood that leave to amend will be granted.” Qwest Comm’ns Corp.,

28   2007 WL 2288299, at *2; see also Mlejnecky, 2011 WL 486743 at *9 (likely grant of leave to

                                                     -4-
     SHARP’S OBJECTIONS TO ORDER OF                                                           Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                      Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 9 of 15




1    amend weighed against staying discovery); Nat’l Union Fire Ins. Co. of Pittsburgh, PA v.

2    Resource Development Svcs, Inc., No. 10-cv-1324, 2010 WL 3746290, at *1 (N.D. Cal. Sept. 18,

3    2010) (finding that motion to dismiss was not potentially dispositive where leave to amend could

4    be granted). Here, there is no basis for dismissing Sharp’s complaint that would require a

5    dismissal with prejudice. See Benson Decl., Ex. 2, at 4.

6                     Thomson Consumer argued that because it raises a statute of limitations defense,

7    leave to amend would be futile. See Benson Decl., Ex. 3, at 5. However, Thomson Consumer’s

8    statutes of limitation defense is based on its assertion that, when Thomson S.A. sold its CRT

9    assets in 2005, it “exited the CRT industry” and thereby withdrew from the conspiracy Sharp

10   alleges. Id. But as Sharp explained in its opposition to Thomson Consumer’s motion to dismiss,

11   Sharp’s allegations regarding the sale of the CRT business do not establish as a matter of law

12   that Thomson Consumer withdrew from the conspiracy, because they do not establish that

13   Thomson had, for instance, no continuing interest in the CRT business. See No. 07-cv-5944,

14   Dkt. No. 1744, at 9. In any event, even if the Court concluded that the allegations suggest that

15   Thomson withdrew from the conspiracy, leave to amend would not be futile here. Sharp would

16   allege in an amended complaint that when Thomson S.A. sold its CRT business to a company

17   called Videocon, it also acquired an ownership interest in Videocon and thereby retained an

18   interest in the CRT business. See Benson Decl., Ex. 5, Thomson S.A. 2006 Annual Report at 41-

19   42 (May 11, 2007) (noting that in 2005 Thomson acquired 13.1% of Videocon’s shares for a

20   value of €240 million)).

21                    Moreover, as Sharp also noted in its opposition to Thomson Consumer’s motion

22   to dismiss, whether or not Thomson withdrew in 2005, it could still be liable because of

23   fraudulent concealment. See, e.g., McCarn v. HSBC USA, Inc., No. 12-cv-0375, 2012 WL

24   5499433, at *9 (E.D. Cal. Nov. 13, 2012) (dismissing Real Estate Settlement Procedures Act

25   claims with leave to amend where plaintiff failed to adequately plead fraudulent concealment to

26   toll the statute of limitations). And although the Court has already found allegations identical to

27   Sharp’s to be sufficient under Twombly,1 if, for some reason, the Court finds Sharp’s allegations

28   1
         See In re Cathode Ray Tubes Antitrust Litig., 738 F. Supp. 2d 1011, 1016-17 (N.D. Cal. 2010).
                                                    -5-
     SHARP’S OBJECTIONS TO ORDER OF                                                         Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                    Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 10 of 15




1    lacking in requisite specificity, it should nonetheless grant leave to amend as the Court in

2    McCarn did.

3                    The Special Master gave no consideration to the applicable legal standard and to

4    Sharp’s arguments that the Court may grant leave to amend. He determined, instead, without

5    explanation or analysis, that Thomson Consumer’s motion to dismiss is dispositive, “particularly

6    with respect to the statutes of limitation.” Benson Decl., Ex. 1, at 2. The Special Master’s legal

7    conclusion that Thomson Consumer’s motion is dispositive should be reviewed de novo and

8    overturned.

9                    Is discovery relevant to the motion? As to the second element, Courts within

10   the Ninth Circuit have stated that a court “abuses its discretion if it prevents a party from

11   conducting discovery relevant to a potentially dispositive motion.” See Shift4 Corp., 2012 WL

12   3206027, at *2 (emphasis added) (citing Alaska Cargo Transp., Inc. v. Alaska R.R. Corp., 5 F.3d

13   378, 383 (9th Cir. 1993) (stay of discovery is “improper” if “the discovery sought [i]s relevant

14   to” the dispositive motion)); Young v. U.S., No. 11-cv-6043, 2013 WL 750646, at *1 (W.D.

15   Wash. Feb. 27, 2013) (same); Pacific Lumber Co. v. Nat’l Union Fire Ins. Co. of Pittsburgh, PA,

16   220 F.R.D. 349, 352 (N.D. Cal. 2003) (“Denying a protective order is particularly appropriate if

17   a stay of discovery could preclude either party from fully preparing for the pending dispositive

18   motion.”) (emphasis added). The Special Master abused his discretion here in staying discovery

19   even where Sharp has indicated that discovery would be directly relevant to Thomson

20   Consumer’s motion.

21                   American Pipe stands for the proposition that the filing of a class complaint tolls

22   the limitations period against various entities.2 Thomson Consumer argued in its motion to

23   dismiss that Sharp’s limitations period against it had run, notwithstanding American Pipe tolling,

24   because only Thomson SA—but not Thomson Consumer—was named in the early class

25   complaints in 2008. Sharp noted in its opposition that statutes of limitations are meant to ensure

26   that defendants have timely notice of claims against them, and that authority supports the

27   proposition that American Pipe tolls a limitations period against a subsidiary, where a parent is

28   2
         See American Pipe & Constr. Co. v. Utah, 414 U.S. 538 (1974).
                                                     -6-
     SHARP’S OBJECTIONS TO ORDER OF                                                           Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                      Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 11 of 15




1    named in a lawsuit and so the subsidiary has notice of the claims. See Case No. 07-cv-5944,

2    Dkt. No. 1744, at 15-16 (citing authority). Sharp also observed that discovery into when

3    Thomson Consumer had notice of claims against it would be directly relevant, then, to Thomson

4    Consumer’s limitations argument. Id. at 16. Moreover, in its recently-filed opposition to

5    Thomson S.A.’s motion to dismiss, Sharp is also requesting discovery to address Thomson

6    S.A.’s personal jurisdiction defense. See Case No. 07-cv-5944, Dkt. No. 1835. Some of this

7    discovery pertains directly to Thomson Consumer, such as Thomson S.A.’s control over

8    Thomson Consumer’s CRT operations in the U.S., and may be in its possession. The Special

9    Master erred by not addressing these arguments at all, and instead stating, without elaboration,

10   that the motion to dismiss “can be decided without discovery.” Benson Decl., Ex. 1, at 2.

11                   Can Sharp state a claim? As to the third element, courts within the Ninth

12   Circuit take a “peek” at the merits of the dispositive motion and permit discovery unless

13   “convinced that a plaintiff will be unable to state a claim for relief.” Huene, 2013 WL 417747,

14   at *8; Baker v. Ark. Blue Cross, No. 08-cv-3974, 2009 WL 904150, at *1 (N.D. Cal. Mar. 31,

15   2009) (denying stay of discovery where it was “not clear that Plaintiffs will fail to state a claim”)

16   (citing Wood v. McEwen, 644 F.2d 797, 801 (9th Cir. 1981)). Discovery should “ordinarily

17   proceed despite any pending motion to dismiss” where the complaint can be substantiated, as

18   when “guilty pleas have already been entered in a parallel criminal case.” In re Graphics

19   Processing Units Antitrust Litig., No. 06-cv-7417, 2007 WL 2127577, at *5 (N.D. Cal. July 24,

20   2007). Here, there is ample support for Sharp’s allegations. The Department of Justice has

21   indicted four individuals for involvement in the CRT conspiracy.3 Defendant Samsung SDI pled

22   guilty to participating in the conspiracy.4 The European Commission found that Thomson S.A.

23   participated in a “worldwide” CRT conspiracy, which was “among the most organised . . . that

24

25
     3
      See Indictment of C.Y. Lin, U.S. v. Cheng Yuan Lin, No. 3:09-cr-00131 (N.D. Cal. Feb. 10,
26   2009); Indictment of Wen Jun Cheng, U.S. v. Wen Jun Cheng, No. 3:09-cr-00836 (N.D. Cal.
     Aug. 18, 2009); Indictment of C.C. Yeh, U.S. v. Chung Cheng Yeh, No. 3:10-cv-00231 (N.D.
27   Cal. Mar. 30, 2010); Indictment of Seung-Kyu Lee, Yeong-Ug Yang, and Jae-Sik Kim, U.S. v.
     Seung-Kyu Lee, No. 3:10-cr-00817 (N.D. Cal. Nov. 9, 2010).
28   4
         U.S. v. Samsung SDI Co., Ltd., No. 3:11-cr-00162-WHA, Dkt. 40-1.
                                                     -7-
     SHARP’S OBJECTIONS TO ORDER OF                                                          Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                     Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 12 of 15




1    the Commission has investigated.”5 Against this backdrop, Sharp’s complaint can hardly be

2    considered to be “utterly frivolous” or merely a “fishing expedition.” Gray v. First Winthrop

3    Corp., 133 F.R.D. 39, 40 (N.D. Cal. 1990). To the contrary, Sharp’s complaint will withstand

4    Twombly scrutiny, as complaints virtually identical to it already have.6 As such, Thomson

5    Consumer cannot show “by clear and convincing evidence that it will prevail on the merits of its

6    dispositive motion,” as required in order to obtain a stay of discovery. Seven Springs Ltd. P’ship

7    v. Fox Capital Mgmt. Corp., No. 07-cv-0142, 2007 WL 1146607, at *2 (E.D. Cal. Apr. 18,

8    2007). That this is an antitrust case does not change the analysis. See Benson Decl., Ex. 4, at 2;

9    Mlejnecky, 2011 WL 489743, at n.12 (“Twombly does not, as a general matter, support a stay of

10   discovery”); In re Flash Memory Antitrust Litig., No. 07-cv-0086, 2008 WL 62278, at *3 (N.D.

11   Cal. Jan. 4, 2008) (“The [Twombly] Court did not hold, implicitly or otherwise, that discovery in

12   antitrust actions is stayed or abated until after a complaint survives a Rule 12(b)(6) challenge.”).

13                  To conclude that Sharp cannot state a claim, Special Master Legge relied on the

14   fact that Thomson Consumer made a statute of limitations defense. Benson Decl., Ex. 1, at 2. Its

15   defense, as noted earlier, is based on Thomson Consumer’s position that Thomson S.A. “exited”

16   the CRT business in 2005 and therefore withdrew from the conspiracy more than four years

17   before Sharp filed its complaints. As explained above, this argument fails for at least two

18   reasons. Thomson never in fact fully exited the CRT business, because it retained an ownership

19   interest in Videocon, the company to whom it sold its CRT assets. But even if Thomson

20   Consumer had withdrawn, that would not be sufficient to toll the statute of limitations, as the

21   fraudulent concealment doctrine applies despite effective withdrawal. See Case No. 07-cv-5944,

22   Dkt. No. 1744, at 9-10. Accordingly, the Special Master erred in concluding that Sharp is

23   unlikely to be able to state a claim.

24

25

26
     5
       See European Commission, “Antitrust: Commission fines producers of TV and computer
27   monitor tubes €1.47 billion for two decade-long cartels (Dec. 5, 2012), available at
     http://europa.eu/rapid/press-release_IP-12-1317_en.htm.
28   6
       See In re Cathode Ray Tubes Antitrust Litig., 738 F. Supp. 2d at 1016-17.
                                                     -8-
     SHARP’S OBJECTIONS TO ORDER OF                                                          Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                     Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 13 of 15



           II. THE STAY OF DISCOVERY PREJUDICES SHARP AND IS NOT
1                OUTWEIGHED BY EFFICIENCY
2                   An extended stay of discovery will severely prejudice Sharp, and that prejudice is

3    not outweighed by any prejudice to Thomson Consumer or any countervailing efficiencies.

4    Courts within the Ninth Circuit apply a demanding standard before staying discovery, requiring

5    that the party requesting the stay make a “clear” or “strong” showing of “particular and specific

6    need” for the stay. In re Valence Tech. Sec. Litig., 1994 WL 758688, at *2 (“[D]efendant must

7    make a clear showing of hardship or inequity to justify a blanket stay of discovery pending

8    resolution of a challenge on the pleadings.”); Gray, 133 F.R.D. at 40 (requiring a “strong

9    showing” of a “particular and specific need”). Thomson Consumer has made no such showing.

10                  Thomson Consumer has argued only that, absent a stay, it would be “forced to

11   incur the costs and burdens associated with discovery,” see Benson Decl., Ex. 3, at 2. As a

12   threshold matter, that a stay of discovery would “promote efficiency” and “avoid[] costly

13   discovery” is insufficient to meet the “showing of particular and specific need required” to obtain

14   a stay. Rheumatology Diagnostics Lab., Inc. v. Aetna, Inc., No. 12-cv-5847, 2013 U.S. Dist.

15   LEXIS 61848, at *7 (N.D. Cal. Apr. 29, 2013) (internal quotations omitted). These sorts of

16   “stereotyped and conclusory statements” are not enough. Gray, 133 F.R.D. at 40. But more

17   importantly, any costs and burden to Thomson Consumer are likely to be incurred regardless

18   because, as noted above, even if Thomson Consumer prevails on its motion to dismiss, Sharp

19   should “be granted leave to plead anew.” In re Valence Tech. Sec. Litig., 1994 WL 758688, at

20   *2.

21                  In any event, the harm (if any) to Thomson Consumer must be weighed against

22   the inefficiency of delaying discovery and the resulting burden on and prejudice to Sharp. As

23   this District Court has recognized, “[a]n overly lenient standard for granting motions to stay

24   discovery due to pending dispositive motions would result in unnecessary delay in many cases.”

25   Huene, 2013 WL 417747, at *8; see also Simpson v. Specialty Retail Concepts, Inc., 121 F.R.D.

26   261, 263 (M.D.N.C. 1988) (“[M]otions [to stay discovery] are not favored because when

27   discovery is delayed or prolonged, it can create case management problems which impede the

28   Court’s responsibility to expedite discovery . . . .”). This is no more true than here. As noted at

                                                    -9-
     SHARP’S OBJECTIONS TO ORDER OF                                                          Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                     Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 14 of 15




1    pages 3-4, supra, the Special Master suspended hearing on Thomson Consumer’s motion to

2    dismiss until it can be combined with a hearing on other defendants’ joint motions to dismiss

3    Sharp’s complaint. But Thomson Consumer is not similarly-situated with other defendants that

4    have participated in MDL discovery for years. These defendants’ motions have not and will not

5    be filed until after the Court decides those other defendants’ motions to dismiss other Direct

6    Action complaints. After such a ruling, it will take several months for the parties to brief their

7    motions against Sharp, and then several additional months for the parties to submit objections to

8    this Court on the Special Master’s report and recommendation, before any ruling becomes final.

9    And the costs of delay are particularly acute in a coordinated action like this one. Sharp’s case

10   would almost certainly be forced to proceed on a different schedule from the other plaintiffs.

11                  By failing to acknowledge and consider the impact of this substantial delay on the

12   efficient administration of Sharp’s case, the Special Master erred.

13                  The Special Master also erred by failing to appropriately consider the prejudice to

14   Sharp. Ray v. Spirit Airlines, Inc., No. 12-cv-61528, 2012 WL 5471793, at *1 (S.D. Fla. Nov. 9,

15   2012) (“The court must also weigh the harm produced by a delay in discovery” which can

16   “create case management and scheduling problems and unfairly hold up the prosecution of the

17   case.”); OMG Fidelity, Inc. v. Sirius Techs., Inc., 239 F.R.D. 300, 304-05 (N.D.N.Y. 2006) (“The

18   court must also consider any unfair prejudice which may be suffered by the party seeking to

19   engage in discovery during the pendency of the dismissal motion.”) (citation omitted)). To the

20   extent that the Special Master addressed prejudice to Sharp at all, he noted only that a stay

21   “should not be prejudicial to Sharp” because there is “no reason to believe that any additional

22   evidence . . . would be lost” during a stay. Benson Decl., Ex. 1, at 2-3. Whether or not this is

23   true, this is not the prejudice that Sharp argued it would face. Delay from a stay of discovery

24   would impede Sharp’s ability to timely prosecute its case—not only against Thomson Consumer

25   but also against other defendants. See Benson Decl., Ex. 2, at 5; id., Ex. 4, at 3. Evidence from

26   Thomson Consumer would assist in establishing other defendants’ involvement in the

27   conspiracy, and data from all defendants is necessary for development of Sharp’s expert reports.

28   A delay in discovery from Thomson Consumer would thus prejudice prosecution of all of

                                                    - 10 -
     SHARP’S OBJECTIONS TO ORDER OF                                                           Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                      Master File No. 07-cv-5944, MDL No. 1917
     Case 4:07-cv-05944-JST Document 1839 Filed 08/09/13 Page 15 of 15




1    Sharp’s claims. In reviewing the Special Master’s order, the Court should take into

2    consideration the full extent of the prejudice against Sharp in staying discovery.

3                                             CONCLUSION
4                   For the reasons stated above, the Court should review the Special Master’s

5    decision de novo and, in applying the correct legal standards and weighing concerns of efficiency

6    and prejudice, grant discovery against Thomson Consumer notwithstanding the pending motion

7    to dismiss.

8

9    DATED: August 9, 2013                By: /s/ Craig A. Benson
10                                             Stephen E. Taylor (SBN 058452)
                                               Jonathan A. Patchen (SBN 237346)
11                                             TAYLOR & COMPANY LAW OFFICES, LLP
                                               One Ferry Building, Suite 355
12                                             San Francisco, California 94111
                                               Telephone: (415) 788-8200
13                                             Facsimile: (415) 788-8208
                                               Email: staylor@tcolaw.com
14                                             Email: jpatchen@tcolaw.com
15                                             Kenneth A. Gallo (pro hac vice)
                                               Joseph J. Simons (pro hac vice)
16                                             Craig A. Benson (pro hac vice)
                                               PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
17                                             2001 K Street, NW
                                               Washington, DC 20006
18                                             Telephone: (202) 223-7300
                                               Facsimile: (202) 223-7420
19                                             kgallo@paulweiss.com
                                               jsimons@paulweiss.com
20                                             cbenson@paulweiss.com
21                                        Attorneys for Plaintiffs
22

23

24

25

26

27

28

                                                   - 11 -
     SHARP’S OBJECTIONS TO ORDER OF                                                         Case No. 13-cv-1173-SC
     SPECIAL MASTER STAYING DISCOVERY                                    Master File No. 07-cv-5944, MDL No. 1917
